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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

                                                    )
 UNITED STATES OF AMERICA, et al.,                  )
                                                    )
        Plaintiffs,                                 )
                                                    )
 v.                                                 ) Civil Action No. 1:23-cv-10511-WGY
                                                    )
 JETBLUE AIRWAYS CORPORATION and                    )
 SPIRIT AIRLINES, INC.,                             )
                                                    )
        Defendants,                                 )
                                                    )


                                    NOTICE OF APPEAL

       Please take notice that the defendants JetBlue Airways Corporation and Spirit Airlines,

Inc. hereby appeal to the United States Court of Appeals for the First Circuit from the Final

Judgment and Order Entering Permanent Injunction entered in this action on January 17, 2024

(Dkt. 463) and all orders underlying and incorporated in that judgment, including but not

limited to this Court’s January 16, 2024, Findings of Fact and Conclusions of Law (Dkt. 461).




Dated: January 19, 2024                      Respectfully submitted,


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                               CERTIFICATE OF SERVICE

       I hereby certify that on January 19, 2024, I electronically filed the foregoing document

with the Clerk of the Court using the CM/ECF system, which will send notification of such filing

to all attorneys of record registered on the CM/ECF system.

       DATED this 19th day of January, 2024.



                                             /s/ Ryan A. Shores
                                             Ryan A. Shores




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